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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
        UNITED STATES OF AMERICA,
 8                           Plaintiff,
                                                        CR17-136-TSZ
 9         v.
                                                        ORDER
10      MEIFANG YU and HOANG LE,
11                           Defendants.

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            THIS MATTER comes before the Court on the unopposed motion of defendants
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     Meifang Yu and Hoang Le for a continuance of the trial and the pretrial motions due
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     date, docket no. 109. Having considered the facts set forth in the motion, the speedy trial
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     waivers executed by defendants, and the records and files herein, the Court enters the
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     following order:
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            1.     A failure to grant the continuance would deny defense counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of
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     due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the
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     failure to grant a continuance in the proceeding would be likely to result in a miscarriage
21
     of justice, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).
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     ORDER - 1
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 1         2.     The ends of justice will be served by ordering a continuance in this case, as

 2 a continuance is necessary to ensure adequate time for the defense to effectively prepare

 3 for trial. All of these factors outweigh the best interests of the public and defendants in a

 4 more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).

 5         For the foregoing reasons, the unopposed motion to continue trial, docket no. 109,

 6 is GRANTED. The trial date for defendants Meifang Yu and Hoang Le shall be

 7 continued from November 13, 2017, to February 12, 2018. Pretrial motions are to be

 8 filed no later than December 1, 2017.

 9         IT IS FURTHER ORDERED that the resulting period of delay from the date of

10 this Order until the new trial date is hereby excluded for speedy trial purposes under

11 18 U.S.C. § 3161(h)(7)(A) and (B).

12         IT IS SO ORDERED.

13         Dated this 2nd day of October, 2017.

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                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
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     ORDER - 2
